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                         IN THE TJNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ALABAMA
                                   SOUTHERN DIVISION


  TTNITED STATES OF AMERICA                          *
                                                     * CRIMINAL NO. 10.00187-KD
  v.                                                 *
                                                     *
  LA TONIA EVANS                                     :r



                           PRELIMINARY ORDER OF FORFEITURE


          WHEREAS, in the Indictment in the above-entitled case, the United States sought

  forfeiture of property which represented proceeds of illegal drug activities, andlor property used

  to facilitate drug iransactions of defendant LA TONIA EVAllS, pursuant to Title 18, United

  States Code, Section 1956(a)(1)(A)(I) and Title 21, United States Code, Section 8a3@);

         AND WHEREAS, based upon the Indictment, the guilty plea entered on October 20,

  2011, and the Plea Agreement entered into between the United States and defendant LA TONIA

  EVANS, and for the reasons stated, it is hereby;

         ORDERED, ADJUDGED AND DECREED, thatpursuantto Title 18, United States

  Code, Section 1956(a)(1)(A)(t) and Title2l,United States Code, Section 843(b), Title2I,

  United States Code, Section 853 and Federal Rule of Criminal Procedure 32.2(b),the interest of

  the defendant, LA TONIA EVAi\S in the property identified as follows is hereby condemned

  and forfeited to the United States for disposition according to law:

         (1) $400.00 in United States Currency, and
         (2) One.32 caliber revolver, serial number 7L892 and ammunition,
         all seized from the defendant's residence during the execution of a search warrant.
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  AND WHEREAS, byvirtue of said guiltyplea and said Plea Agreement, the United

  States is now entitled to, pending possible appeal herein, reduce the said property to its

  possession and notify any and all potential third parties who have or may have an interest in the

  forfeited property, pursuant to Title 21, United States Code, Section 853 and Rule 32.2(b) of the

  Federal Rules of Criminal Procedure.

          NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED:

  That based on the Plea Agreement, the factual resume, the guilty pIea, and Fed.R.Crim.P

  32.2(b)(3),and pursuant to the defendants' consent, all right, title and interest of defendant,

  LA TONIA EVANS, in the above-described property is hereby forfeited to and vested in the

  United States of America for disposition in accordance with law, subject to the provisions of

  TitIe 21, United States Code, Section 853(n).

          That the aforementioned property is authorized to be held bythe United States Marshals

  Service in their secure custodv and control.

          Pursuant to 21 U.S.C. $ 853(nX1) and the Attorney General's authority to determine the

  manner of publication of an Order of Forfeiture in a criminal case, the United States shall publish

  notice of this order on an official government internet site (www.forfeiture.gov) for at least 30

  consecutive days.

          This notice will state that any person, other than the defendant, having or claiming alegal

  interest in any of the above described forfeited property must file a petition with the Court within

  60 days of the first date of publication of notice (which date shall be set forth in the notice). The

  petition shall be signed by the petitioner under penalty of perjury and shall set forth the nature

  and extent of the petitioner's right, title or interest in the forfeited property, the time and
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  circumstances of the petitioner's acquisition of the right, title or interest, and any additional facts

  supporting the petitioner's claim and the relief sought. The petition must be filed with the Clerk

  of the Court, 113 St. Joseph Street, Mobile, Alabama 36602and a copy served upon Assistant

  United States Attorney, Michele C. O'Brien, 63 South Royal Street, Suite 600, Mobile, Alabama

  36602.

            The United States may also, to the extent practicable, provide direct written notice to any

  person known to have alleged an interest in the property that is the subject of the Order of

  Forfeiture, as a substitute for published notice as to those persons so notified.

            After the disposition of any motion filed under Fed. R. Crim. P. 32.2(c)(l)(A) and before

  a hearing on the petition, discovery may be conducted in accordance with the Federal Rules of


  Civil Procedure upon showing that such discovery is necessary or desirable to resolve factual

  issues.

            The United States shall have clear title to the property following the Court's disposition

  of all third-party interests, or, if none, following the expiration of the period provided inTitle 21,

  United States Code, Section 853(n)(2) for the filing of third-partypetitions.

            PursuanttoFed. R. Crim. P.32.2(b)(3), andthePleaAgreementsignedbytheparties,

  this Preliminary Order of Forfeiture shall become final as to the defendant at the time of

  sentencing and shall be made part of the sentence included in the judgment. If no third paffy files

  a timely claim, this Order shall become the Final Order of Forfeiture, as provided by Fed. R.


  Crim. P.32.2(c)(2).

            The Court shall retain jurisdiction to enforce this Order, and to amend it as necessary

  pursuant to Fed. R. Crim. P.32.2(e).
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         The Clerk of the Court shall forward four (4) certified copies of this Order to Assistant

  U.S. AttorneyMichele C. O'Brien, U.S. Attorney's Office, Southern District of Alabama.




         DATED this i/         dayofFebruary,2}lL.




                                               KRISTI K. DuBOSE
                                               UNITED STATES DISTRICT JUDGE
